                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

M & G USA CORPORATION, et al.,                        Case No. 17-12307 (BLS)

                                 Debtors.             Jointly Administered


M&G Polimeros Brasil S.A.,

                                 Plaintiff,           Adv. Proc. No. 18-50007-BLS

         v.
                                                      Re: D.I. Nos. 16, 17, 18, 19, 21, 22 and 23
M&G Polymers USA, LLC and Comerica
Bank,

                                 Defendants.


              NOTICE OF COMPLETION OF BRIEFING WITH RESPECT TO DEFENDANT
                         COMERICA BANK’S MOTION TO DISMISS

           PLEASE TAKE NOTICE that briefing concerning the Motion of Comerica Bank to

Dismiss Amended Complaint [Adv. Docket No. 17] (“Motion”), filed in the above-captioned

adversary proceeding on March 15, 2018, is now completed and ready for consideration by the

Court.

           Pleadings relevant to the Motion are as follows:

                Date        Docket No.                         Pleading
Tab No.
1.              03/01/18    16                Amended Complaint
2.              03/15/18    17                Motion of Comerica Bank to Dismiss Amended
                                              Complaint
3.              03/15/18    18                Opening Brief in Support of Comerica Bank’s Motion to
                                              Dismiss Amended Complaint
4.              .3/15/2018 19                 Joinder of M&G Polymers USA, LLC to Motion of
                                              Comerica Bank to Dismiss Amended Complaint and
                                              Brief in Support Thereof
5.        04/12/18      21   Polimeros’ Brief in Opposition to Defendant Comerica’s
                             Motion to Dismiss
6.        04/26/18      22   Comerica Bank’s Reply Brief in Support of Motion to
                             Dismiss Amended Complaint
7.        04/26/18      23   Joinder of M&G Polymers USA, LLC to Comerica
                             Bank’s Reply Brief in Support of Motion to Dismiss
                             Amended Complaint

Dated: April 27, 2018         CONNOLLY GALLAGHER LLP

                              /s/ Jeffrey C. Wisler
                              Karen C. Bifferato (DE Bar No. 3279)
                              Jeffrey C. Wisler (DE Bar No. 2795)
                              Kelly M. Conlan (DE Bar No. 4786)
                              The Brandywine Building
                              1000 N. West Street, Suite 1400
                              Wilmington, DE 19801
                              Telephone: (302) 757-7300
                              Facsimile: (302) 757-7299
                              Email: kbifferato@connollygallagher.com
                              Email: jwisler@connollygallagher.com
                              Email: kconlan@connollygallagher.com

                              and

                              MILLER, CANFIELD, PADDOCK AND STONE,
                              P.L.C.
                              Jonathan S. Green, Esq.
                              Steven A. Roach, Esq.
                              Erika L. Giroux
                              150 West Jefferson, Suite 2500
                              Detroit, MI 48226
                              Telephone: (313) 963-6420
                              Facsimile: (313) 496-7500
                              Email: greenj@millercanfield.com
                              Email: roach@millercanfield.com
                              Email: Giroux@millercanfield.com

                              Counsel to Comerica Bank




                                     2
